                                              United States Bankruptcy Court
                                       Western District of Washington, Tacoma Division
In Re:                                                              Case No. 18-43651
Rebar, Sean Micheal & Rebar, Tracie Lee
                                                                    CHAPTER 13 PLAN

                                                                    [ ] Original [ X ] Amended
                                                                    Date: January 8, 2019
                                                       Debtor(s).

I.        Disclosure of Nonstandard Provisions and Plan’       s Modification of Secured Debt:
     A. Does this plan contain any nonstandard provisions (check one)?
     [ X ] Yes
     [ ] No
     B. Does this plan limit the amount of a secured claim based on a valuation of the collateral for the claim (check one)?
     [ ] Yes
     [ X ] No
     C. Does this plan avoid a security interest or lien (check one)?
     [ ] Yes
     [X] No
If the Debtor has either not indicated “  yes”in the applicable section above or made no selection, any nonstandard provision or language in
this plan purporting to limit the amount of a secured claim based on a valuation of the collateral or to avoid a security interest or lien is
void. Even if the Debtor indicated “   no”in Section 1.B or Section 1.C, the Debtor may seek to limit the amount of a secured claim based on
a valuation of the collateral for the claim or avoid a security interest or lien through a motion or an adversary proceeding.

II.      Means Test Result and Plan Duration:
The Debtor is (check one):
[X] a below median income debtor with a 36 month applicable commitment period
[ ] an above median income debtor with 60 month applicable commitment period

The plan’s length shall not be less than the Debtor’s applicable commitment period unless the plan either provides for
payment in full of allowed unsecured claims over a shorter period or is modified post-confirmation. If the Debtor is below
median income, then the plan’  s length shall automatically be extended up to 60 months after the first payment is due if
necessary to complete the plan.

III.      Plan Payments to the Trustee:
No later than 30 days after the order for relief, the Debtor shall commence making payments to the Trustee as follows:
     A. AMOUNT: $ 2,161.32
     B. FREQUENCY (check one):
     [X] Monthly
     [ ] Twice per month
     [ ] Every two weeks
     [ ] Weekly
     C. TAX REFUNDS: The Debtor (check one):
     [ ] commits all tax refunds to funding the plan. Committed refunds shall be paid in addition to the plan payment amount stated
     above.
     [ X ] does not commit all tax refunds to funding the plan.
     D. PAYMENTS: Plan payments shall be deducted from the Debtor's wages unless otherwise agreed to by the Trustee or ordered
        by the Court.
     E. OTHER:


IV.     Distribution of Plan Payments by the Trustee:
Upon confirmation of the plan, the Trustee shall disburse funds received in the following order and creditors shall apply them
accordingly, provided that disbursements for domestic support obligations and federal taxes shall be applied according to applicable
non-bankruptcy law:
    A. ADMINISTRATIVE EXPENSES:
        1. Trustee. The percentage set pursuant to 28 USC §586(e).


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           2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
           3. The Debtor’s Attorney's Fees: Pre-confirmation attorney’s fees and/or costs and expenses are estimated to be $
               3,500.00. $ 900.00 was paid prior to filing.
               Approved attorney compensation shall be paid as follows (check one):
                    [X] Prior to all creditors;
                    [ ] Monthly payments of $                      ;
                    [ ] All remaining funds available after designated monthly payments to the following creditors:
                    [ ] Other:
               If no selection is made, approved compensation will be paid after the monthly payments specified in Sections IV.B and
               IV.C.

    B. CURRENT DOMESTIC SUPPORT OBLIGATIONS:
Creditor                                                                                                                  Monthly Amount
None
    C. SECURED CLAIMS: Only creditors holding allowed secured claims specified below or provided in Section X will receive
       payment from the Trustee. Unless ranked otherwise, payments to secured creditors will be disbursed at the same level.
       Secured creditors shall retain their liens until the earlier of payment of the underlying debt, determined under
       nonbankruptcy law, or discharge under 11 U.S.C. § 1328. Secured creditors shall not assess any late charges, provided
       payments from the plan to the secured creditor are current, subject to the creditor ’ s rights under state law if the case is
       dismissed.

           The interest rates in the plan control except that (a) a lower interest rate included in a creditor ’
                                                                                                               s proof of claim shall
           control; and (b) the interest rate included in a creditor ’s proof of claim for a claim secured by a mortgage or deed of trust on
           real property shall control, unless otherwise provided in Section X or ordered following an objection to a proof of claim or
           in an adversary proceeding. If the interest rate is left blank, the interest rate shall be 12% except that the interest rate for
           arrearages on claims secured by a mortgage or deed of trust on real property shall be 0%.

           For claims secured by personal property, the monthly payment amounts in the plan control.

           For claims secured by real property, the monthly payment amounts in the creditor ’
                                                                                            s proof of claim and notice of payment
           change control unless otherwise provided in Section X.

           If overall plan payments are sufficient, the Trustee may increase or decrease post-petition installments for ongoing
           mortgage payments, homeowner’     s dues and/or real property tax holding accounts based on changes in interest rates, escrow
           amounts, dues and/or property taxes.

                1. Payments on Claims, or Non-Escrowed Postpetition Property Tax Holding Accounts, Secured Only by Security
           Interest in the Debtor’
                                 s Principal Residence (Interest included in payments at contract rate, if applicable):

    Ongoing Payments:
                    Monthly
 Rank               Payment Creditor                                                  Collateral
 1                  1,463.00 BSI Financial Services                                   19408 67th Street Ct E, Bonney Lake, WA 98391-8899
1                     344.12 Pierce County Treasurer Office                           19408 67th Street Ct E, Bonney Lake, WA 98391-8899


    Cure Payments:
     Monthly                                                                                                       Arrears to      Interest
Rank Payment              Creditor                                Collateral                                        be Cured          Rate
2    0.00, see            BSI Financial Services                  19408 67th Street Ct E, Bonney Lake, WA          96,485.72        0.00%
                                                                  98391-8899
     section X
     (2)                                                                                                           12,204.64          12%
                                                                  19408 67th Street Ct E, Bonney Lake, WA
2                                                                 98391-8899
                          Pierce County Treasurer Office

        all available
        funds , see
        section X
        (2)


               2.     Payments on Claims, or Non-Escrowed Postpetition Property Tax Holding Accounts, Secured by Real Property


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         Other than the Debtor ’
                               s Principal Residence:

    Ongoing Payments:
              Monthly                                                                                                        Interest Rate
 Rank         Payment Creditor                                              Collateral
                None

         Cure Payments:
     Monthly                                                                                                    Arrears to        Interest
Rank Payment           Creditor                                Collateral                                        be Cured            Rate
     None

    3.   Payments on Claims Secured by Personal Property:

                  a. 910 Collateral.
         The Trustee shall pay the contract balance stated in the allowed proof of claim for a purchase-money security interest in any
         motor vehicle acquired for the personal use of the Debtor within 910 days preceding the filing date of the petition or in
         other personal property acquired within one year preceding the filing date of the petition as specified below. The Debtor
         stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee in the amounts stated as the
         “Pre-Confirmation Adequate Protection Monthly Payment”or, if blank, in the amounts stated as the “       Monthly Payment”as
         specified below after the creditor files a proof of claim.
                                                                                                              Pre-Confirmation
                                                                                                                     Adequate
                Monthly                                                                                             Protection Interes
Rank            Payment Creditor                                   Collateral                                 Monthly Payment t Rate
                  None

              b. Non-910 Collateral.
         The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise provided in Section X or ordered
         following a timely objection to a proof of claim or in an adversary proceeding, for a security interest in personal property
         which is non-910 collateral. The Debtor stipulates that pre-confirmation adequate protection payments shall be paid by the
         Trustee in the amounts stated as the “Pre-Confirmation Adequate Protection Monthly Payment”or, if blank, in the amounts
         stated as the “
                       Monthly Payment”as specified below after the creditor files a proof of claim.
                                                                                                              Pre-Confirmation
                                                                                                                     Adequate
                Monthly                                    Debtor’ s Value                                          Protection Interes
Rank            Payment Creditor                             of Collateral Collateral                         Monthly Payment t Rate
 `1               71.80 Wells Fargo Dlrsvc                       3,900.00 2006 Acura 3.2 LT (154,000 miles)              0.00 6.00%

    D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the order stated
       in 11 U.S.C. § 507(a).

    E. NONPRIORITY UNSECURED CLAIMS No funds shall be paid to nonpriority unsecured creditors until all secured,
       administrative and priority unsecured creditors are paid in full, provided that no claim shall be paid before it is due. The
       Trustee shall pay filed and allowed nonpriority unsecured claims as follows (check one):
       [ ] 100%
       [X] At least $ 0.00

         The Trustee shall pay the following specially classified nonpriority unsecured claims prior to other nonpriority unsecured
         claims:
                                                            Amount of       Percentage
Rank Creditor                                                  Claim         to be Paid Reason for Special Classification
     None



V.       Direct Payments to be made by the Debtor and not by the Trustee:
The following claims shall be paid directly by the debtor according to the terms of the contract or support or withholding order, and
shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

A. DIRECT PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:


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                                                                                                            Current
                                                                                                           Monthly            Monthly
                                                                                                            Support          Arrearage
Creditor                                                                                                  Obligation          Payment
None

B. OTHER DIRECT PAYMENTS:
Creditor                                          Nature of Debt                                          Amount of            Monthly
                                                                                                             Claim             Payment

VI.       Secured Property Surrendered:
The secured property described below will be surrendered to the following named creditors on confirmation. The Debtor requests
that upon confirmation, each creditor (including successors and assigns) to which the Debtor is surrendering property pursuant to
this section be granted relief from the stays of 11 U.S.C. §§ 362(a) and 1301(a) to enforce its security interest against the property
including taking possession and sale.
Creditor                                                            Property to be Surrendered
None

VII.Executory Contracts and Leases:
The Debtor will assume or reject executory contracts or unexpired leases as specified below. Assumption will be by separate motion
and order, and any cure and/or continuing payments will be paid directly by the Debtor under Section V, unless otherwise specified
in the plan. Any executory contract or unexpired lease not assumed pursuant to 11 U.S.C § 365(d) is rejected. If rejected, upon
confirmation the creditor is granted relief from the stays of 11 U.S.C. §§ 362(a) and 1301(a) with respect to the property which is the
subject of the rejected contract or lease, and any allowed unsecured claim for damages shall be paid under Section IV.E.
Contract/Lease                                                      Assumed or Rejected
None

VIII. Property of the Estate
Property of the estate is defined in 11 U.S.C. § 1306(a). Unless otherwise ordered by the Court, property of the estate in possession of
the Debtor on the petition date shall vest in the Debtor upon confirmation. However, the Debtor shall not lease, sell, encumber,
transfer or otherwise dispose of any interest in real property or personal property without the Court ’s prior approval, except that the
Debtor may dispose of unencumbered personal property with a value of $10,000 or less without the Court’       s approval. Property
(including, but not limited to, bonuses, inheritances, tax refunds or any claim) acquired by the Debtor post-petition shall vest in the
Trustee and be property of the estate. The Debtor shall promptly notify the Trustee if the Debtor becomes entitled to receive a
distribution of money or other property (including, but not limited to, bonuses, inheritances, tax refunds or any claim) with a value in
excess of $2,500, unless Section X specifically provides for the Debtor to retain the money or property.

IX.       Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
The liquidation value of the estate is $ 0.00. To obtain a discharge, the Debtor must pay the liquidation value or the total of allowed
priority and nonpriority unsecured claims, whichever is less. Under 11 U.S.C. §§ 1325(a)(4) and 726(a)(5), interest on allowed
unsecured claims under Section IV.D and IV.E shall be paid at the rate of 0% per annum from the petition date (no interest shall be
paid if left blank).

X.       Nonstandard Provisions:
All nonstandard provisions of this plan are set forth in this section and separately numbered. Any nonstandard provision placed
elsewhere in this plan is void. Any modifications or omissions to the form plan not set forth in this section are void.

1. The debtor agrees to contribute to the plan any un-exempted portion of the personal injury case proceeds. The debtor will notify
the Trustee of the final settlement before any approval or distribution.

2. SELL OPTION TO COMPLETE PLAN: BECAUSE THE DEBTOR(S)' MONTHLY CHAPTER 13 PLAN PAYMENT
PROVIDED FOR IN THIS PLAN IS INSUFFICIENT TO PROVIDE FOR A FULL PAYMENT OF MORTGAGE
ARREARAGES AND PROPERTY TAXES WHICH REQUIRED TO BE PAID WITH THIS PLAN OVER THE MAXIMUM
PLAN LENGTH ALLOWED, THE DEBTOR(S) AGREE TO SELL OR REFINANCE THE HOME BEFORE THE END OF THE
37TH MONTH OF THIS BANKRUPTCY.
IF THE DEBTOR(S) ARE UNABLE TO SELL OR REFINANCE THE HOME BEFORE THE END OF THE 12TH MONTH OF
THIS CASE, THE DEBTOR(S) AGREE TO INCREASE THE PAYMENT IN ORDER TO PAY IN FULL THE REMAINING
ARREARAGE AND DELEQUENT TAXES ON THE PRIMARY RESIDENCE DURING THE REMAINING 48 MONTHS
IN THIS CHAPTER 13 PROCEEDING.


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IF THE DEBTORS ARE UNABLE TO REFINACE THEIR MORTGAGE, STARTING 11-01-2019, THE DEBTORS'
MONTHLY PLAN PAYMENT WILL BE $4,300.00.

.By filing this plan, the attorney for the Debtor(s) or the Debtor(s) if not represented by an attorney certify that the wording and order
of the provisions in this plan are identical to those contained in Local Bankruptcy Form 13-4, other than any nonstandard provisions
included in Section X.
 /s/ Rafal Gorski                                   /s/ Sean M. Rebar                                  01-08-19
 Attorney for Debtor(s)                             DEBTOR                                             Date
 01-08-19                                           /s/ Tracie L. Rebar                                01-08-19
 Date                                               DEBTOR                                             Date




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